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 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   1:10-CR-00462-LJO
                                           )
12                    Plaintiff,           )   PRELIMINARY ORDER OF FORFEITURE
                                           )
13        v.                               )
                                           )
14   PHOUSANGKHY PHANTHADETH               )
       aka Phou,                           )
15   BOUNEPHENG SAVONGSY,                  )
     ERNSON MERISIER                       )
16     aka “E,”                            )
     MARQUIS ALLEN MECA, and               )
17   RUDDYS A. PIMENTEL,                   )
                                           )
18                    Defendants.          )
                                           )
19                                         )
20        Based upon the plea agreements entered into between plaintiff
21   United States of America and defendants Phousangkhy Phanthadeth, aka
22   Phou, Bounepheng Savongsy, Ernson Merisier, aka “E,” Marquis Allen
23   Meca, and Ruddys A. Pimentel, it is hereby ORDERED, ADJUDGED, AND
24   DECREED as follows:
25        1.   Pursuant to 21 U.S.C. § 853, defendants Phousangkhy
26   Phanthadeth, aka Phou, Bounepheng Savongsy, Ernson Merisier, aka “E,”
27   Marquis Allen Meca, and Ruddys A. Pimentel’s interests in the
28   following property shall be condemned and forfeited to the United




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 1   States of America, to be disposed of according to law:
 2              a.     Approximately $3,269.00 U.S. Currency, and
 3              b.     2006 Dodge Charger, VIN: 2B3KA53H96H302025,
                       Massachusetts License Number 842KP5.
 4
 5        2.    The above assets constitute, or are derived from, proceeds
 6   obtained, directly or indirectly, or were used, or intended to be
 7   used, in any manner or part, to commit, or to facilitate the
 8   commission of a violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)
 9   and/or 841(b)(1)(D), and 846.
10        3.    Pursuant to Rule 32.2(b), the Attorney General (or a
11   designee) shall be authorized to seize the above-listed property.
12   The aforementioned property shall be seized and held by the United
13   States Marshal Service in their secure custody and control.
14        4.   a.    Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the
15   United States shall publish notice of the order of forfeiture.
16   Notice of this Order and notice of the Attorney General’s (or a
17   designee’s) intent to dispose of the property in such manner as the
18   Attorney General may direct shall be posted for at least 30
19   consecutive days on the official internet government forfeiture site
20   www.forfeiture.gov.     The United States may also, to the extent
21   practicable, provide direct written notice to any person known to
22   have alleged an interest in the property that is the subject of the
23   order of forfeiture as a substitute for published notice as to those
24   persons so notified.
25              b.     This notice shall state that any person, other than
26   the defendant, asserting a legal interest in the above-listed
27   property, must file a petition with the Court within sixty (60) days
28   from the first day of publication of the Notice of Forfeiture posted




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 1   on the official government forfeiture site, or within thirty (30)
 2   days from receipt of direct written notice, whichever is earlier.
 3            5.      If a petition is timely filed, upon adjudication of all
 4   third-party interests, if any, this Court will enter a Final Order of
 5   Forfeiture pursuant to 21 U.S.C. § 853, in which all interests will
 6   be addressed.
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                                        IT IS SO ORDERED.
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     Dated:        September 26, 2011            /s/ Lawrence J. O'Neill
27   b9ed48                                  UNITED STATES DISTRICT JUDGE
28




                                                  3           Preliminary Order of Forfeiture
